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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


JACK MONTAGUE                                         :
                                                      :
         Plaintiff                                    :              CIVIL ACTION NO.:
                                                      :              3:16-CV-00885-AVC
vs.                                                   :
                                                      :
YALE UNIVERSITY, ET AL                                :
                                                      :
         Defendants                                   :              AUGUST 21, 2018

             MOTION FOR PERMISSION TO FILE OVER-LENGTH BRIEF

         The defendants hereby move for permission to file a reply memorandum of law in

excess of ten pages in response to the plaintiff’s opposition to the defendants’ motion for

summary judgment. Defense counsel has conferred with plaintiff’s counsel and plaintiff’s

counsel has stated that he does not object to this request.

         The plaintiff’s 64 page and 316 paragraph Amended Complaint contains nine counts

asserting claims for breach of contract, gender discrimination, defamation, invasion of privacy,

and tortious interference with contract. Count VII, however, includes eight sub-counts, thus

increasing the number of counts to sixteen, with eleven counts asserting separate and distinct

breach of contract claims. The defendants moved for summary judgment as to all sixteen

claims and filed a fifty-five page brief in support of their motion. The plaintiff then opposed

the defendants’ motion with a fifty-eight page brief. The defendants are unable to fully brief

their reply arguments within the ten-page limitation in Rule 7(d).
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       WHEREFORE, the defendants respectfully request permission to file a memorandum

of law of approximately twenty-five pages, exclusive of signature and certification, in reply to

the plaintiff’s opposition to the defendants’ motion for summary judgment.




                                                       THE DEFENDANTS


                                                  BY:___/s/ Patrick M. Noonan (#ct00189)__
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                                                     Colleen Noonan Davis (#ct27773)
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.



                                                       _______________/s/________________
                                                        Patrick M. Noonan




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